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EXHIBIT 2
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rwmalonemd @
+) @twmalonemd Aug 31, 2022

RE: Breggin

| regret having to write this, but | continue to be
pestered regarding Peter Breggin's criticism of Mattias
Desmet and his book. As far as | am concerned, this is
concern trolling on the part of Dr. Breggin and his
followers. | want nothing to do with this. Dr Breggin
may see Dr. Desmet as both an academic competitor as
well as a competing author (and therefore have conflicts
of interest), | have no idea, but the behavior is
consistent with that. | have facilitated direct
communication between them. | want nothing to do
with this, it is between them. But please do not bother
me about this any more. | am not in the business of
facilitating nor exploiting academic disputes.

Thank you.
Translate post

Posted on 11:07 AM - Aug 31st, 2022
